 Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 1 of 23 Page ID #:15364




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13 STEADFAST NETWORKS, LLC
14                       UNITED STATES DISTRICT COURT
15                   CENTRAL DISTRICT COURT OF CALIFORNIA
                               WESTERN DIVISION
16
17   ALS SCAN, INC.,                             Case No.: 2:16-cv-05051-GW-AFM
18   a Maryland Corporation,
                                                 DEFENDANT STEADFAST
19   Plaintiff,                                  NETWORKS, LLC’S REPLY IN
20                                               SUPPORT OF ITS MOTION FOR AN
     v.                                          AWARD OF ATTORNEYS’ FEES
21                                               AND EXPENSES
22   CLOUDFLARE, INC.
     a Delaware corporation,                     Hearing Date: July 30, 2018
23
     et al.                                      Hearing Time: 8:30 a.m.
24                                               Place: Courtroom 9D, 9th Fl.
25   Defendants.                                        350 West 1st Street
                                                        Los Angeles, CA, 90012
26                                               Judge: Hon. George H. Wu
27
28



          DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                   ATTORNEYS’ FEES AND EXPENSES
  Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 2 of 23 Page ID #:15365




 1                            TABLE OF CONTENTS
 2 INTRODUCTION........................................................................................................1
 3    I. ALL FACTORS WEIGH IN STEADFAST’S FAVOR FOR AN AWARD OF
 4       ATTORNEYS’ FEES UNDER THE COPYRIGHT ACT ...................................2
 5        A. ALS’s Position Was Objectively Unreasonable. ...............................................2
 6
            1. ALS Misinterprets Kirtsaeng’s Significance. .................................................2
 7
            2. ALS Provides This Court with A Legally Flawed Framework. .....................4
 8
 9          3. ALS’s Sole Reliance on Fonovisa and Louis Vuitton Was Objectively
               Unreasonable. ..................................................................................................5
10
11            i.        Reliance on Fonovisa was Objective Unreasonable .................................6
12            ii.       Reliance on Louis Vuitton was Objective Unreasonable .........................7
13
              iii.      ALS’s Other Case law is Misplaced. ........................................................8
14
          B. Improper Motive ................................................................................................8
15
16        C. Steadfast Should Be Compensated; ALS and Similar Parties Should Be
             Deterred. ..........................................................................................................10
17
          D. ALS Pretends the Vicarious Infringement Claim Does Not Count. ...............12
18
19        E. Weighing the Factors. ......................................................................................12
20    II. STEADFAST IS ENTITLED TO FEES UNDER THE LANHAM ACT. .........13
21
      III. THE REQUESTED FEES WERE NECESSARY AND REASONABLE .........15
22
          A. Steadfast’s Attorneys’ Rates Are Unchallenged. ............................................16
23
24        B. ALS’s Challenge to The Amount of Total Requested Hours Is Superficial,
             Lacking Evidence to Support its Beliefs. ........................................................16
25
26        C. ALS’s Challenge to Steadfast’s Apportionment is Without Merit. ................18
27    IV.          Conclusion.....................................................................................................19
28



          DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                   ATTORNEYS’ FEES AND EXPENSES
   Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 3 of 23 Page ID #:15366




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 2 CASES
 3 Bosley Medical Institute, Inc. v. Kremer, 403 F.3d 672 (9th Cir. 2005) ...................13
 4 Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259 (9th Cir. 1996)...........................6
 5
   Kerr v. Screen Extras Guild, Inc., 526 F.2d 67 (9th Cir. 1975) ................................19
 6
   Kirtsaeng v. John Wiley & Sons, Inc., 136 S. Ct. 1979 (2016) ......................... passim
 7
 8 Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658 F.3d 936 (9th Cir. 2011) .....7
 9 Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir. 2007) .........................5
10
   Perfect 10, Inc. v. Giganews, Inc., 2015 U.S. Dist. LEXIS 54063 (C.D. Cal. Mar. 24,
11  2015) ........................................................................................................... 13, 16, 17
12
   Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 675 (9th Cir. 2017)............. 4, 5, 12
13
   Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788 (9th Cir. 2007) ..... 5, 6, 10, 18
14
15 Secalt S.A. v. Wuxi Shenxi Constr. Mach. Co., 668 F.3d 677 (9th Cir. 2012)...........13
16 Seltzer v. Green Day, Inc., 725 F.3d 1170 (9th Cir. 2013) ..........................................8
17 Shame on You Prods. v. Banks, 2018 U.S. App. LEXIS 16764 (9th Cir. June 21,
18  2018) ......................................................................................................................1, 3
19 VMG Salsoul, LLC v. Ciccone, 824 F.3d 871 (9th Cir. 2016) .....................................8
20
   Williams v. Gaye, 885 F.3d 1150, 1177 (9th Cir. 2018) ..............................................3
21
22
23
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26
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28



            DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                     ATTORNEYS’ FEES AND EXPENSES
  Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 4 of 23 Page ID #:15367




 1                                    INTRODUCTION
 2         Defendant Steadfast Networks, LLC (“Steadfast”) submits this reply in
 3 support of its motion for attorneys’ fees and expenses. In opposing the motion, ALS
 4 simply ignored critical facts and arguments, focusing instead upon a rehash of its
 5 old unsuccessful arguments and legally unsupported premises.
 6         First, as a whole, ALS mistakenly puts all of its eggs in an objective-
 7 reasonableness basket, relying on the Supreme Court’s decision in Kirtsaeng v.
 8 John Wiley & Sons, Inc., 136 S. Ct. 1979, 1985 (2016). As explained further below,
 9 “Kirtsaeng did not effect a significant change in the law ….” Shame on You Prods.
10 v. Banks, 2018 U.S. App. LEXIS 16764, at *6 (9th Cir. June 21, 2018). Moreover,
11 ALS has still failed to show the objective reasonableness of its copyright claims.
12 Assuming that both of ALS’s copyright claims had objective reasonableness, and
13 thus giving this factor substantial weight, the totality of the circumstances of all
14 factors considered still weighs in favor of awarding Steadfast attorneys’ fees.
15         Second, underlying ALS’s opposition is a legally and logically unsupported
16 premise, which goes as follows: Because the Court neither accepted nor agreed with
17 all of Steadfast’s arguments, the Court’s doing so made ALS’s position more
18 objectively reasonable. This is flawed. Instead, ALS’s factual and legal positions are
19 the only focus of the objective-reasonableness inquiry. ALS then continues this
20 same mistakenly premised argument throughout its opposition.
21         Third, while ALS doesn’t dispute the reasonableness of the attorneys’ rates,
22 ALS makes baseless claims opposing the number of total hours and how those
23 hours were apportioned. Here, ALS ignores Steadfast’s supporting evidence and
24 instead defers to its own beliefs. For example, ALS mistakenly relies on how
25 “seriously” ALS itself took certain claims as a barometer of how Steadfast must
26 have spent its time. ALS’s beliefs are not indicative of Steadfast’s fees other than to
27 support the fact that Steadfast was forced to defend itself against baseless claims for
28 over a year.

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        DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                 ATTORNEYS’ FEES AND EXPENSES
  Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 5 of 23 Page ID #:15368




 1 I.      ALL FACTORS WEIGH IN STEADFAST’S FAVOR FOR AN
 2         AWARD OF ATTORNEYS’ FEES UNDER THE COPYRIGHT ACT
 3         All the Fogerty factors weigh in Steadfast’s favor, and thus the Court should
 4 award attorneys’ fees under the Copyright Act. Right from the start, Steadfast
 5 begins with two factors that weigh heavily in its favor: degree of success, Dkt. 531,
 6 p. 6-7, and furthering the purposes of the Copyright Act, id., p. 7. These two factors
 7 are not only uncontested by ALS, but the two, on their own merit alone, could
 8 provide justification for an award of attorneys’ fees. As for the latter factor,
 9 Steadfast argued that ALS put forth a theory that, if accepted, would have radically
10 expanded the scope of secondary liability. Dkt. 531, p. 7. ALS does not contest this.
11         As demonstrated below, ALS fails to put forth any legitimate argument to the
12 contrary. When reviewing ALS’s opposition as a whole, the purpose of the first 17.5
13 of 21 pages are all geared only towards making a Kirtsaeng, objective-
14 reasonableness argument. Indeed, ALS’s opposition reads as if it were a motion for
15 reconsideration. As for the other Fogerty factors, ALS’s remaining arguments are
16 underserving of this Court’s attention. This tactic as well as others advanced by
17 ALS to obfuscate the analysis are misguided.
18         A.     ALS’s Position Was Objectively Unreasonable.1
19         As an initial matter, ALS’s opposition in regards to the objective
20 reasonableness contains two preliminary misdirections. First, ALS prefaces its
21 argument, inaccurately portraying the significance of Kirtsaeng. Second, ALS
22 provides legally irrelevant and erroneous deflection in support of its position. Next,
23 when viewed in the correct framework, ALS’s position is void of objective
24 reasonableness.
25                1.     ALS Misinterprets Kirtsaeng’s Significance.
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27   1
     ALS lumped frivolousness and objective reasonableness together. For these same
28 reasons, and because frivolousness is a lesser standard, Steadfast shows that the
   frivolousness factor weighs in its favor.

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         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
  Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 6 of 23 Page ID #:15369




 1         Here, ALS cites to Kirtsaeng as if that case had a decisive impact on the way
 2 district courts in the Ninth Circuit assess motions for attorneys’ fees. Dkt. 542, p.
 3 1:5-13; id., p. 14:7-12. In Kirtsaeng, the Supreme Court revisited Fogerty,
 4 providing “some additional guidance respecting the application of §505.” Kirtsaeng,
 5 136 S. Ct. at 1985. There, the Supreme Court prefaced its analysis stating what no
 6 one disputed: § 505 “grants courts wide latitude to award attorney’s fees based on
 7 the totality of circumstances in a case.” Id. And it re-emphasized the principle from
 8 Fogerty that: “[A] district court may not ‘award[ ] attorney’s fees as a matter of
 9 course’; rather, a court must make a more particularized, case-by-case assessment.”
10 Id. (citation omitted).
11         Turning to the issue in the case, the Supreme Court criticized Second Circuit
12 precedent, recognizing that Circuit’s “language at times suggest[ed] that a finding of
13 reasonableness raise[d] a presumption against granting fees, … and that [went] too
14 far in cabining how a district court must structure its analysis and what it may
15 conclude from its review of relevant factors.” Id. at 1989. The Supreme Court found
16 this problematic because district courts within that Circuit turned “‘substantial’ into
17 more nearly ‘dispositive’ weight.” Id. As a result, the Supreme Court clarified that
18 “objective reasonableness can be only an important factor in assessing fee
19 applications—not the controlling one.” Id. at 1988.
20         Recently, the Ninth Circuit rejected a plaintiff’s argument that the court
21 “improperly failed” to cite or “take into account” Kirtsaeng. Shame on You Prods.
22 v. Banks, 2018 U.S. App. LEXIS 16764, at *6 (9th Cir. June 21, 2018). The Ninth
23 Circuit emphasized that “Kirtsaeng did not effect a significant change in the law”
24 and that it has “upheld pre-Kirtsaeng decisions on the basis that Kirtsaeng did not
25 require a different result.” Id. at *7 (referencing Williams v. Gaye, 885 F.3d 1150,
26 1177 (9th Cir. 2018)). “Under Kirtsaeng, a district court must give ‘substantial
27 weight’ to the reasonableness of [losing party’s] litigating position, but it also takes
28 into account the other factors identified in our case law.” Id. at *10 (citation

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        DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                 ATTORNEYS’ FEES AND EXPENSES
  Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 7 of 23 Page ID #:15370




 1 omitted).2 In sum, contrary to how ALS would have this Court read Kirtsaeng, that
 2 case only clarified that “substantial weight” does not mean “dispositive” weight.
 3                2.     ALS Provides This Court with A Legally Flawed Framework.
 4         Underlying ALS’s objective reasonableness argument is a legally and
 5 logically unsupported premise, which goes as follows: Because the Court neither
 6 accepted nor agreed with all of Steadfast’s arguments, the Court’s doing so made
 7 ALS’s position more objectively reasonable. This is flawed in logic and in fact.
 8 Actually, “[n]o matter which side wins a case, the court must assess whether the
 9 other side’s position was (un)reasonable.” Kirtsaeng, 136 S. Ct. at 1988 (emphasis
10 added); see also id. at 1987 (noting a “district court that has ruled on the merits of a
11 copyright case can easily assess whether the losing party advanced an unreasonable
12 claim ….”). Put another way, in assessing whether the losing party’s position was
13 objectively reasonable, the focus of the inquiry is just that: the losing party’s
14 position, see id., consisting of both the factual and legal “components of the case,”
15 Giganews, 847 F.3d at 675.
16         Here, in support of its objective-reasonableness argument, ALS provides a
17 distraction by focusing mainly on Steadfast, as well as other matters that have no
18 bearing on whether ALS’s position was objectively reasonable. See Dkt. 542, p.
19 15:1-19, 17:14-18:17. For example, ALS provides, “The Court agreed…The Court
20 rejected Steadfast’s argument … The Court rejected Steadfast’s argument … The
21 Court agreed … The Court rejected Steadfast’s theory ….” Id., p. 15:1-9; see also
22 id., p. 17:14 (“Steadfast cited no case that was on all fours.”). This style of attack
23
24   2
       Objective reasonableness of a losing party’s position may vary; in other words,
25   some losing party’s positions may be less objectively reasonable than others, and
26   thus a district court only gives “substantial weight” to the degree of objective
     reasonableness. See Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 675 (9th Cir.
27   2017) (noting that “the ‘objective unreasonableness’ factor weighed slightly in
28   Appellees’ favor” (emphasis added)).


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         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
  Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 8 of 23 Page ID #:15371




 1 has nothing to do with whether ALS’s position was objectively reasonable. Further,
 2 ALS’s “sound-bite” approach of evaluating the Court’s decision is also
 3 impermissibly subjective. Even ALS’s discussion of Fonovisa and Louis Vuitton are
 4 so infused with finger-pointing that those discussions miss the point of the objective
 5 reasonableness inquiry. See id., p. 16:3-17:13.
 6                3.     ALS’s Sole Reliance on Fonovisa and Louis Vuitton Was
 7                       Objectively Unreasonable.
 8         Now, with the framework clarified, the issue is whether both the factual and
 9 legal components of ALS’s positions were objectively reasonable. See Giganews,
10 847 F.3d at 675; Kirtsaeng, 136 S. Ct. at 1988.3 Working within this correct
11 framework, ALS makes only one relevant argument: whether or not it was
12 objectively reasonable to rely on either Fonovisa or Louis Vuitton, given the known
13 facts when the third amended complaint was filed. See Dkt. 542, p. 15:20-22. The
14 short answer: No matter how many times ALS cites these two cases, the conclusion
15 is the same every time.
16         To be objective, these two cases must be put in context. In 2007, the Ninth
17 Circuit slightly tweaked the Circuit law to align with Grokster. Accordingly, ALS
18 was required to establish that Steadfast’s “activities me[t] the definition of
19 contributory liability … enunciated in Grokster[,]” meaning that “[o]ne infringes
20 contributorily by intentionally inducing or encouraging direct infringement ….”
21 Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1170 (9th Cir. 2007) (citation
22 omitted). Soon after, Visa was decided. There, the Ninth Circuit disagreed with the
23 dissenter’s application of outdated cases, such as Fonovisa, to Internet-related
24 issues. See Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788, 798 n.9 (9th Cir.
25 2007) (“Those tests were developed for a brick-and-mortar world, and, as the
26
27   3
     For purposes here, Steadfast only addresses ALS’s contributory infringement
28 claim. Section I.D, infra, provides a general discussion responding to ALS’s
   treatment of the vicarious infringement claim in its opposition.

                                                 5
         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
  Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 9 of 23 Page ID #:15372




 1 Napster and Grokster courts implicitly recognized by paying little attention to
 2 them”). The Ninth Circuit made it clear that it would not find liability for activities
 3 that would “require a radical and inappropriate expansion of existing principles of
 4 secondary liability and [that] would violate the public policy of the United States.”
 5 Id. at 795. Indeed, “[a]ny conception of ‘site and facilities’ that encompasses
 6 Defendants would also include a number of peripherally-involved third parties, such
 7 as computer display companies, storage device companies, and software companies
 8 that make the software necessary to alter and view the pictures and even utility
 9 companies that provide electricity to the Internet.” Id. at 800.
10         With the legal context set, the Court also considers the objective
11 reasonableness given the facts. First, ALS filed suit knowing that, every time it sent
12 Steadfast a non-compliant DMCA notice, the at-issue images were promptly
13 removed. Second, ALS knew that Steadfast was a separate entity than Flixya. Third,
14 ALS knew that only Imagebam.com users, not Flixya, uploaded images.
15                i.     Reliance on Fonovisa was Objective Unreasonable
16         Turning to Fonovisa, it is clear that ALS’s reliance on it was objectively
17 unreasonable. The Ninth Circuit in Visa already made clear that the case had a
18 limited applicability in the online world. In Fonovisa, the swap meet operators
19 defied the officer’s order to remove counterfeits and refused, after having agreed, to
20 give the officer vendor information. Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d
21 259, 261 (9th Cir. 1996).4 Unlike the defendant’s blatant disregard to work with
22 others to remove infringements, Steadfast joined ALS in its effort to remove the at-
23 issue images. This was known before the suit was filed. Dkt. 531, p. 3; see also Dkt.
24
25
     4
26   It is worth noting that the Fonovisa concerned the reversal of a motion to dismiss.
   As such a case, its value must be read in the context that the Court is making all
27 reasonable inferences in the plaintiff’s favor. And the case does not establish
28 liability. These point too should have been recognized by ALS, making ALS’s
   position even more objectively unreasonable.

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         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 10 of 23 Page ID
                                     #:15373



 1 96, p. 6 (misstating law, arguing that “merely continuing to forward infringement
 2 notices is not enough”). In sum, ALS not only knew of the Ninth Circuit’s
 3 disapproval of Fonovisa, but also knew that the at-issue images were removed each
 4 time it sent a non-compliant notice to Steadfast. Accordingly, ALS’s reliance on
 5 Fonovisa was objectively unreasonable, both legally and factually.
 6                ii.    Reliance on Louis Vuitton was Objective Unreasonable
 7         Next, ALS’s continued and tiresome reliance on Louis Vuitton was
 8 objectively unreasonable. In Louis Vuitton, the plaintiff sent the defendants 18
 9 notices of infringement, and the defendants failed “to identify any action taken in
10 response to the notices sent.” Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658
11 F.3d 936, 936 (9th Cir. 2011). Unlike the liable defendant in Louis Vuitton,
12 Steadfast took action that resulted in the complete removal of the alleged at-issue
13 infringements. This was known before the suit was filed. Dkt. 531, p. 3; see also
14 Dkt. 96, p. 6 (misstating law, arguing that “merely continuing to forward
15 infringement notices is not enough”).
16         Additionally, the websites at issue in Louis Vuitton were the direct infringers;
17 here, Steadfast’s former client’s client(s) were the alleged infringers, i.e., the users
18 of a legitimate website. It is objectively unreasonable to think that Steadfast had
19 permission to hack into another company’s server and withdraw services from that
20 company’s client, who is an unidentified individual. This is bordering on the absurd.
21 Accordingly, ALS’s reliance on Louis Vuitton–no matter how much it willed the
22 case to apply here–was objectively unreasonable.
23         Moreover, ALS should have read Louis Vuitton thinking that, if the case went
24 to trial, could it “present[] … evidence that [Steadfast] had reasonable means to
25 withdraw services to” Imagebam.com users? Louis Vuitton, 658 F.3d at 942. Here,
26 ALS already admitted that Steadfast was not able to do so. See Dkt. 395, p. 10.
27 Obviously, Steadfast was not directly providing services to the Imagebam.com
28 users. See id.; see also Louis Vuitton, 658 F.3d at 942. ALS’s suit is nonsensical.

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         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 11 of 23 Page ID
                                     #:15374



 1 From the beginning, ALS should have known that Louis Vuitton could not support
 2 its case no matter how times ALS cited to it.
 3                iii.   ALS’s Other Case law is Misplaced.
 4         ALS cites to VMG Salsoul. That case stands for the proposition that “[i]t
 5 plainly is reasonable to bring a claim founded on the only circuit-court precedent
 6 to have considered the legal issue, whether or not our circuit ultimately agrees with
 7 that precedent.” VMG Salsoul, LLC v. Ciccone, 824 F.3d 871, 887 (9th Cir. 2016)
 8 (emphasis added). On top of relying on an only “circuit-court precedent,” the
 9 plaintiff’s claim relied “on disputed facts sufficient to reach a jury ….” Id.
10         Here, ALS did not test the “only circuit-court precedent to have considered
11 [a] legal issue ….” VMG Salsoul, 824 F.3d at 887 (emphasis added). Rather, ALS
12 ignored the Supreme Court, i.e., Grokster, and vast in-circuit controlling authorities,
13 namely Napster, Amazon.com, Visa, and Giganews. Moreover, the facts that were
14 known when filing the complaint prevented ALS from reaching a jury. ALS’s
15 stubborn reliance on Louis Vuitton and Fonovisa was objectively unreasonable.
16         ALS also cites to Green Day. That case stands for the proposition that “the
17 mere fact that [the plaintiff] lost cannot establish his objective unreasonability.”
18 Seltzer v. Green Day, Inc., 725 F.3d 1170, 1181 (9th Cir. 2013). Also, in light of a
19 four-factor fair use test, the Ninth Circuit concluded that there was no reason to
20 believe the plaintiff should have known its case was a failure from the outset, where
21 the defendant’s transformation was nonobvious and slight. Id.
22         Here, unlike the juggling of a four-factor test in assessing fair use, ALS’s
23 claims each involved several essential elements. When filing the lawsuit, ALS knew
24 that the at-issues images were removed, meaning Steadfast must have had a simple
25 measure. Because ALS filed a lawsuit knowing that it could not prove an essential
26 element, ALS’s position was objectively unreasonable.
27         B.     Improper Motive
28         ALS’s improper motive is another factor that weighs heavily in Steadfast’s

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        DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                 ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 12 of 23 Page ID
                                     #:15375



 1 favor. ALS ignored many of Steadfast’s arguments on this point, too.
 2         As developed in the initial memorandum, ALS’s improper motive is apparent
 3 by its failure to take any measures besides paying Steve Easton to protect its works.
 4 Automated technology is available, and ALS does not argue otherwise.
 5 Accordingly, ALS’s failure to take common measures to protect its works shows
 6 improper motive.
 7         ALS also claims that “copyright owners are not proceeding with suspect
 8 motivations if they chose not to pursue claims against impecunious direct infringers
 9 and seek satisfaction against U.S. companies that aggregate services to sites that
10 chronically infringe.” Dkt. 542, p. 18.5 The deflection here only serves to highlight
11 ALS’s improper motive. First, the only website ALS has mentioned is
12 imagebam.com, which was then operated and owned by California-based Flixya.
13 Second, as it has been already established, Flixya’s imagebam.com cannot
14 “chronically infringe.” See Dkt. 396, ¶¶ 28, 54 (admitting only unidentified users
15 upload images to Imagebam.com). Meaning, a suit against Flixya would be for
16 secondary liability. Instead of filing a secondary liability claim against Flixya, ALS
17 chose to sue Steadfast for leasing servers to a client that does not engage in direct
18 infringement and otherwise operated a law-abiding website.
19         In sum, ALS sued Steadfast for the actions of its former client’s client(s).
20 Fundamentally, contributory liability is premised on “fault-based liability derived
21 from the common law.” Dkt. 344, p. 8 (quoting Amazon.com). Here, Steadfast did
22 the most it could do to assist ALS–and successfully, too–in making right the alleged
23 wrongs committed by unidentified Imagebam.com users. See Dkt. 344, p. 7-12.
24
25
     5
26  ALS’s statement would be equally applicable had it chose to sue the electricity
   company. Based on ALS’s position, ALS would have been justified in suing the
27 electricity company here because the electricity company provided an indirect
28 service that would have allowed it to “pull the plug” just as easily.

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         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 13 of 23 Page ID
                                     #:15376



 1 Again, ALS puts it best, admitting that “Steadfast did not in any way promote or
 2 take any affirmative steps to encourage any infringing activity.” Dkt. 396, ¶ 6. To
 3 sue someone under the circumstances of this case, such as Steadfast but not Flixya,
 4 does not follow common sense. See Dkt. 344, p. 7-12. Instead, it shows that ALS
 5 must have had an improper motive. Accordingly, this factor weighs heavily in
 6 Steadfast’s favor.
 7         C.     Steadfast Should Be Compensated; ALS and Similar Parties
 8                Should Be Deterred.
 9         Steadfast has shown that an award of attorneys’ fees is warranted in light of
10 considerations of compensation and deterrence. See Dkt. 531, p. 12-14. In
11 opposition, ALS’s responses (or lack thereof) are unavailing.
12         ALS ignores Steadfast’s claim that it should be compensated for its
13 successful defense. ALS ignores Steadfast’s claim that ALS and others should be
14 deterred from filing suits with theories that have no basis in the case law. ALS
15 ignores Steadfast’s claim that this was an attack on the Internet. These three points
16 alone show that this factor weighs heavily in Steadfast’s favor.
17         Steadfast argued that ALS misused copyright law to further its effort to shut
18 down legally operated businesses. In response, ALS provides a conclusory
19 statement in response, calling this “pure hyperbole.” Dkt. 542, p. 19:13-14. But
20 ALS’s response is astounding, given that its battle cry throughout this entire
21 litigation has been “pull the plug.” Dkt. 96, p. 8; Dkt. 297, p. 20 (“pull[] the plug”);
22 Dkt. 365, p. 15 (“pull[] the plug”); see also Dkt. 365, p. 21 (claiming Steadfast
23 “should have terminate[d] [Flixya’s] account”). Due to the actions of unidentified
24 individuals, ALS wanted Steadfast to render as nonfunctional a third-party, law-
25 abiding business; in other words, shutting it down. ALS has exhibited the same
26 conduct that caused the Ninth Circuit to concern itself with Perfect 10’s tactics.6
27
     6
28    See Visa, 494 F.3d at 798 n.9 (“Meanwhile, what would stop a competitor of a
     web-site from sending bogus notices to a credit card company claiming

                                                10
         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 14 of 23 Page ID
                                     #:15377



 1 This attempt to stretch the law to unreachable heights should be deterred.
 2         As a general response, ALS asserts that coming out “empty handed” after
 3 incurring time and expense is deterrence enough. Such a view of this case, however,
 4 is too narrow. ALS has forced at least two settlements; ALS has had no success on
 5 the merits. ALS and similar plaintiffs should be discouraged from trying to gamble;
 6 meaning, filing lawsuits against a number of unrelated parties in attempts to force
 7 settlements because it is cheaper to settle. Such conduct should be deterred,
 8 especially where, as here, the party’s claim has no basis in the case law.
 9         ALS then attempts to deflect to matters outside of the scope of this case. It
10 mentions the challenges faced due to “online pirates” that are “often foreign and
11 impecunious parties ….” Dkt. 542, p. 19:17-18. But the focus of ALS’s case against
12 Steadfast concerned Flixya, a business that was located in California and that
13 complied with the law. See Dkt. 340-3; Dkt. 443, p. 20 (concluding that there was
14 “no reason, legal or practical, to terminate Flixya’s account”). ALS’s deflection
15 raises irrelevant matters that should be disregarded. If anything, ALS’s deflection
16 here shows that, instead of suing bad “online pirates,” ALS sued allies who joined
17 ALS’s effort in removing alleged specific infringements of ALS’s images from the
18 Internet. Contrary to ALS’s claim, awarding attorneys’ fees to Steadfast would not
19 intimidate copyright owners. Instead, it would send a message that would only
20 reinforce the obvious: You should not use judicial resources to sue your allies in the
21 fight against copyright infringement, especially when your position has no basis in
22 the case law.
23         As shown here, ALS’s arguments concerning considerations of compensation
24 and deterrence are unfounded. Accordingly, this factor weighs heavily in favor of
25 awarding attorneys’ fees to Steadfast.
26
27 infringement by its competitor in the hope of putting a competitor out of business,
28 or, at least, requiring it to spend a great deal of money to clear its name?”).

                                               11
        DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                 ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 15 of 23 Page ID
                                     #:15378



 1         D.     ALS Pretends the Vicarious Infringement Claim Does Not Count.
 2         ALS’s opposition is undeveloped when it comes to the vicarious infringement
 3 claim. ALS only mentions the vicarious infringement claim once: “ALS elected
 4 during the summary judgment phase not to urge a theory of vicarious liability. Thus,
 5 the Court made no findings on that theory. Doc. 443 p.12 n.11.”7 Dkt. 542, p. 18:1-
 6 3; but compare id. with Dkt. 443, p. 5 (citing RSGD ¶¶ 26, 32-40, 52).
 7         The underlying presumption here is that a district court cannot determine the
 8 frivolousness or objective reasonableness unless the court makes express findings.
 9 This is wrong. The Act grants district courts “wide latitude,” giving them the
10 discretion to “assess whether the other side’s position was (un)reasonable.”
11 Kirtsaeng, 136 S. Ct. at 1985, 1988. This includes both the factual and legal
12 components of ALS’s positions. See Giganews, 847 F.3d at 675. ALS’s single
13 mention of its vicarious infringement was a strategic mistake.
14         Here, all of the factors identified weigh heavily in Steadfast’s favor when it
15 comes to the vicarious infringement claim; ALS has not argued otherwise. Overall,
16 an award of all requested fees regarding the vicarious infringement is warranted.
17         E.     Weighing the Factors.
18         In assessing the totality of the circumstances, Steadfast should be awarded
19 attorneys’ fees. All the factors weigh in Steadfast’s favor. In the unlikely event that
20 ALS’s position is seen as objectively reasonable, that factor is only deserving of
21 substantial weight to the extent that it’s reasonable. The other factors, two of which
22 are uncontested (degree of success and furthering the purposes of the Copyright
23 Act), show that an award of attorneys’ fees is warranted. As for the vicarious
24 infringement claim, all the factors weigh in Steadfast’s favor. For all the reasons
25
26   7
     ALS mistakenly cites to where the Court notes that ALS “appears to concede that
27 Steadfast is not liable under an inducement theory of secondary liability.” Here, too,
28 ALS made Steadfast defend itself and then brief an inducement argument not only
   in its summary judgment motion, but also in the opposition to the motion to dismiss.

                                                12
         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 16 of 23 Page ID
                                     #:15379



 1 described above, the Court should grant Steadfast’s motion for attorneys’ fees
 2 pursuant to the Copyright Act.
 3 II.     STEADFAST IS ENTITLED TO FEES UNDER THE LANHAM ACT.
 4         Steadfast, the prevailing party, is entitled to fees under the Lanham Act,
 5 because it has shown that this case is “exceptional.” For several reasons, ALS’s
 6 opposition only further highlights that its suit was “groundless, unreasonable …
 7 [and] pursued in bad faith.” Secalt S.A. v. Wuxi Shenxi Constr. Mach. Co., 668
 8 F.3d 677, 687 (9th Cir. 2012). As an initial matter, Steadfast notes that, like the
 9 Copyright portion, ALS again deflects the focus from itself and evades Steadfast’s
10 arguments, focusing on inconsequential matters. See Dkt. 542, p. 20:8-11.
11         First, in its opposition, ALS belittles Steadfast’s argument that ALS
12 “supposedly ‘ignored controlling law,” noting “Steadfast had no authorities that
13 dictated the outcome in this case ….” Id., p. 20:12-14. This cannot be further from
14 the truth. “According to the Ninth Circuit, ‘trademark infringement law prevents
15 only unauthorized uses of a trademark in connection with a commercial transaction
16 in which the trademark is being used to confuse potential consumers.’” Dkt. 344, p.
17 21 (quoting Bosley Medical Institute, Inc. v. Kremer, 403 F.3d 672, 676 (9th Cir.
18 2005)); see also id., p. 21-22 (developing the argument); see Dkt. 395, p. 11-12
19 (repeating argument); see Dkt. 531, p. 14 (same); see Dkt. 90, p. 19.
20         From the beginning, Steadfast alerted ALS that it did not provide “any facts
21 establishing what the purported trademark infringement by the Imagebam users
22 entailed.” Dkt. 90, p. 19. Significantly, the Court noted the same. Dkt. 111, p. 9. At
23 this point, ALS should have realized that the claim was meritless. Despite having
24 no legal basis, however, ALS continued a groundless and unreasonable assertion
25 that an “unlawful display of an infringing ALS image infringes both ALS’s
26 copyrights and trademark rights.” Dkt. 148, p. 4; cf. Perfect 10, Inc. v. Giganews,
27 Inc., 2015 U.S. Dist. LEXIS 54063, at *42 (C.D. Cal. Mar. 24, 2015) (concluding
28 that, after court found Lanham Act claims unavailing, Perfect 10 acted reasonably

                                                13
         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 17 of 23 Page ID
                                     #:15380



 1 when it declined to pursue them further).8
 2         Here, ALS has now three times skirted Steadfast’s argument–based on
 3 controlling law–that there was no underlying direct trademark infringement.
 4 Among other things, ALS never showed “use” in “commerce” under the Lanham
 5 Act.9 ALS’s reliance on Louis Vuitton only confirms the groundless and
 6 unreasonableness of ALS’s suit. See Dkt. 96, p. 9 (ALS noting “the defendants
 7 hosted websites that sold goods infringing Louis Vuitton’s copyright and
 8 trademarks” (emphasis added)). In short, ALS’s claim was groundless and
 9 unreasonable, and its relentless pursuit shows bad faith; there was no basis to
10 believe in success on the merits from the beginning. Attorneys’ fees are warranted
11 on this point alone.
12         ALS, however, next claims that “the undisputed facts were that the infringed
13 ALS works were not only copyrighted but bore ALS’s registered mark.” Dkt. 542,
14 p. 20 (emphasis added). This phrasing is terribly misleading. ALS’s statement
15 reads as if the Court concluded that the undisputed facts showed underlying direct
16 infringement of ALS’s trademark as a matter of law. Contrary to what ALS wants
17 one to believe, the Court did not reach the issue of whether there was direct
18 trademark infringement as a matter of law. Instead, in a summary judgment lens,
19 the Court simply found that ALS owns a trademark and that ALS’s mark appears
20 on its website and with its content. Dkt. 443, p. 4; but see Dkt. 395, p. 12 n. 4.
21         ALS also misleadingly provides, “As the court noted, the infringing images
22 bore ‘the ALS markings.” Dkt. 542, p. 20 (quoting Dkt. 443, p. 13 n. 13). But the
23 Court’s reference to “the ALS markings” was in the context of “knowledge that
24
25
     8
26   This strategy, which is often taken by plaintiffs, is to throw in the kitchen sink. If
   one goes this route, as ALS has here, then they should suffer the consequences.
27 9 And Steadfast has not even touched on the fact ALS has admitted facts that
28 preclude any chance of establishing direct control or direct monitor Flixya’s
   Imagebam.com. See Dkt. 395, p. 13-14; see also Dkt. 319, ¶¶ 52-54.

                                                14
         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 18 of 23 Page ID
                                     #:15381



 1 copyrights are being infringed on its customers’ sites.” Dkt. 443, p. 13 n. 13.
 2 Markings, such as copyright notices, are not trademarks. See Dkt. 395, p. 12 n. 4.
 3 In the passage that ALS’s cites, the Court did not conclude that ALS’s trademark
 4 was infringed.
 5          In sum, ALS’s case was unreasonable, groundless, and pursued in bad faith
 6 because there was no underlying trademark infringement. Additionally, ALS’s bad
 7 faith is highlighted by its refusal to accurately cite the record and law, and respond
 8 to most if not all of Steadfast’s arguments. See Dkt. 542, p. 20:12-18.
 9          Because this is an “exceptional case,” the Court should award fees to
10 Steadfast under the Lanham Act.
11 III.     THE REQUESTED FEES WERE NECESSARY AND REASONABLE
12          In Sections III, IV, and V of its initial memorandum, Steadfast argued that
13 its requested fees were necessary and reasonable, that it provided a fair estimate of
14 future fees, and that the Court should reward reasonable expenses, including any
15 costs that are not taxed by the Clerk. See Dkt. 531, p. 15-19. ALS does not
16 challenge, and thereby concedes several points: first, Steadfast’s attorneys’ rates
17 were reasonable; second, that the Steadfast provided a fair estimate of informal
18 hours and future fees that the Court should award; third, that the Court should
19 award Steadfast’s costs and expenses, and that those costs were necessary and
20 reasonable; fourth, that Steadfast should be compensated for any of the requested
21 amount of non-taxable costs that the Clerk does not award.10 See id.
22          Because ALS’s opposition is perfunctory, there are only a few points to
23 highlight on this issue. First, it is worth emphasizing that ALS does not challenge
24 the reasonableness of Steadfast’s attorneys’ rates. Second, ALS challenge to the
25
26   10
     The Clerk did not award $2,695.37 of the requested non-taxable costs. Compare
27 Dkt. 539 with Dkt. 528, 528-1, 2, & 3. As reflected in the conclusion here, and
28 requested previously, Steadfast requests that the difference be added to the total
   costs and expenses here. See Dkt. 531, p. 18-19.

                                                 15
          DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                   ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 19 of 23 Page ID
                                     #:15382



 1 amount of total requested hours is superficial, lacking evidence to support its
 2 beliefs. Third, ALS’s challenge to Steadfast’s apportionment is without merit.
 3         A.     Steadfast’s Attorneys’ Rates Are Unchallenged.
 4         In the initial memorandum, Steadfast set forth that its attorneys’ rates were
 5 reasonable. Dkt. 531, p. 15-16. Meaning, the attorneys’ rates “comport[ed] with
 6 prevailing market rates in the relevant community ….” Id. at 15 (citation omitted).
 7 In part, the evidence showed that Steadfast’s attorneys’ rates were significantly
 8 lower than the “prevailing market rates” in the Central District of California. See
 9 id. at 15-16. Here, ALS doesn’t contest this. Of course, ALS avoids this discussion
10 at all cost; had Steadfast’s attorneys’ rates here been anything close to the
11 “prevailing market rates” in the Central District of California, Steadfast would be
12 seeking an amount that multiplies the current requested amount. Put in this context,
13 it shows just how unwarranted ALS’s challenge is to the total requested amount.
14         B.     ALS’s Challenge to The Amount of Total Requested Hours Is
15                Superficial, Lacking Evidence to Support its Beliefs.
16         ALS instead complains about Steadfast’s total requested hours. It does not,
17 however, do so explicitly. If one asserts that $500,000 is excessive but does not
18 challenge the attorneys’ rates, then what the complaint boils down to is the amount
19 of hours billed.
20         In making this challenge, ALS provides two beliefs. First, ALS attempts to
21 downplay these proceedings, providing its belief that this case “was relatively
22 straightforward.” Dkt. 542, p. 20-21. ALS’s belief is not evidence, and this
23 characterization is hollow and lacks substance. See Giganews, 2015 U.S. Dist.
24 LEXIS 54063, at *58 (C.D. Cal. Mar. 24, 2015) (rejecting unsupported expert
25 opinion that the case was “a straightforward copyright case”). Indeed, ALS’s mere
26 six sentences does not accurately depict approximately a year and half’s worth of
27 proceedings. See Dkt. 542, p. 20:21-26; compare id. with Dkts. 1-543, and JLA
28 Decl. ¶¶ 10, 22-34, Exs. C-G). Moreover, ALS cannot use its own counsel as an

                                               16
        DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                 ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 20 of 23 Page ID
                                     #:15383



 1 expert witness at this juncture. See Giganews, 2015 U.S. Dist. LEXIS 54063, at
 2 *58 (noting Perfect 10 used an expert witness to opine on issues regarding
 3 attorneys’ fees). Accordingly, ALS’s belief should be ignored.
 4          Second, ALS provided its belief that the “fees were multiplied” because a
 5 Steadfast attorney attended Cloudflare’s depositions of Sarah Walsh, Eric Penn and
 6 Steven Easton. Dkt. 542, p. 21:1-3; Dkt. 542-1, Spillane Decl. ¶ 3. This belief is
 7 problematic for several reasons. It is neither evidence, nor admissible. Nor does
 8 ALS explain how or why the attendance was unnecessary, especially when these
 9 individuals were ALS’s key witnesses.
10          The real question is, however, can the attendance of three depositions really
11 “multipl[y]” the fees as much as ALS claims? Unsurprisingly, ALS also fails to
12 support its “belief” with concrete dollar and hour amounts.11 ALS’s belief is
13 merely a distraction, not evidence. Like the first, this belief should be ignored, too.
14          As a result, ALS has provided no competent evidence or argument to
15 controvert the fact that the total hours billed by Steadfast were reasonable. Here,
16 Steadfast’s supporting evidence, including the time entries and the court record’s
17 543 docket entries, show that these proceedings were extensive, time consuming,
18 and complex. See JLA Decl. ¶¶ 10, 22-34, Exs. C-G; Dkts. 1-543. Because the
19 amount of total hours billed was reasonable, this Court should award attorneys’
20 fees in the total requested amount.
21
22
23
     11
      Despite that ALS’s complaint is completely unfounded on its face, Steadfast will
24 nonetheless set the record straight. ALS’s belief is mistaken and overstated. See Dkt.
25 542-1, ¶ 3. Colin O’Brien attended Cloudflare’s deposition of Eric Penn, Ex. C, p.
26 57 & 58, and John L. Ambrogi attended Cloudflare’s deposition of Steve Easton,
   Ex. C, p. 47. Steadfast was not billed for travel time to these depositions. At most,
27 attendance at the Cloudflare depositions amounted to less than $6,500. See JLA
28 Decl. Ex. C, p. 47, 57-58. Steadfast’s attorneys gained valuable and necessary
   insight by attending.

                                                 17
          DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                   ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 21 of 23 Page ID
                                     #:15384



 1         C.    ALS’s Challenge to Steadfast’s Apportionment is Without Merit.
 2         ALS complains about the way Steadfast apportioned its fees. ALS first
 3 asserts that Steadfast “allocate[d] too much of its time to the copyright claim[s]
 4 over the trademark claim.” Dkt. 542 at 21:6-7. In support, ALS’s counsel, under
 5 oath, claims he has personal knowledge that Steadfast’s estimation is errant and
 6 that he has personal knowledge of Steadfast’s motivations. Dkt. 542-1, ¶ 4. ALS’s
 7 counsel knows neither.
 8         ALS counsel’s errant speculation actually provides support for Steadfast’s
 9 estimated apportionment. ALS is correct that the “bar to an award of fee is higher”
10 for Lanham Act cases. Dkt. 542-1, ¶ 4. But it is well known that: “The tests for
11 secondary trademark infringement are even more difficult to satisfy than those
12 required to find secondary copyright infringement.” Dkt. 90, p. 19 (quoting Visa,
13 494 F.3d at 806). It was also clear that there was no underlying trademark
14 infringement. See id. For the reasons above, supra Section I, it was clear ALS’s
15 copyright claims were frivolous. Taking these factors into consideration, it shows
16 that it was reasonable to avoid wasting time on the contributory trademark
17 infringement claim. See, e.g., Dkt. 315-2, p. 13 (opposing ALS’s motion for
18 summary judgment with a paragraph about trademarks).
19         Second, ALS also claims that it “pursued both claims with equal vigor.” Dkt.
20 542, p. 21:7. In the Spillane Decl., he provides that “[ALS] always took the
21 trademark claims seriously.” Dkt. 542-1, ¶ 4. But this is meaningless. It is not a
22 barometer as to how Steadfast allocated its time.
23         Lastly, ALS suggests that the Court should reduce the overall amount of fees
24 because the Court would have let the DMCA defense go to the jury, had the Court
25 ruled on the DMCA defense. This suggestion is baseless. Steadfast is not less
26 deserving of total fees and costs under the Copyright Act because the Court agreed
27 with only some of Steadfast’s copyright-based defense arguments. The Court
28 should decline to follow ALS’s suggestion. Instead, the Court should use its

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        DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                 ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 22 of 23 Page ID
                                     #:15385



 1 discretion to provide more than the total requested fees by imposing an upward
 2 multiplier under Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975).
 3 IV.     Conclusion
 4         For the foregoing reasons, Steadfast respectfully asks this Court to grant its
 5 motion, awarding it $598,489 in total fees and $37,904.11 in total non-taxable costs
 6 and expenses. Steadfast also request that this Court grant any other relief it deems
 7 fair and just.
 8
 9
10                                                Respectfully submitted,
11                                                JOHN L. AMBROGI
12                                                COLIN T.J. O’BRIEN
                                                  PARTRIDGE PARTNERS, P.C.
13
14                                                PAUL D. SUPNIK
15
     Dated: July 16, 2018                     By: /s/John L. Ambrogi
16                                                John L. Ambrogi
17                                                Attorney for Steadfast Networks, LLC
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         DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                  ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 543 Filed 07/16/18 Page 23 of 23 Page ID
                                     #:15386



 1                                 PROOF OF SERVICE
 2
   I, John L. Ambrogi, certify that I am an attorney at law, licensed to practice in the
 3 State of Illinois and I am admitted to appear before the United States District Court
 4 for the Central District of California, and a true copy of the foregoing document
   DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT
 5 OF ITS MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND
 6 EXPENSES was served via electronic filing to the following parties in this action
   via their counsel:
 7
 8         ALS Scan, Inc.
 9
     A true copy of the foregoing document was hand delivered to:
10
11 Hon. George H. Wu
   U.S. District Court
12
   350 W. 1st Street
13 Courtroom 9D
14 Los Angeles, CA 90012
15 Via attorney service
16
          I declare under penalty of perjury under the laws of the United States that
17
   the foregoing is true and correct.
18
19
20 Dated: July 16, 2018                             /s/ John L. Ambrogi
                                                    Attorney for Defendant
21                                                  Steadfast Networks, LLC
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        DEFENDANT STEADFAST NETWORKS, LLC’S REPLY IN SUPPORT OF ITS MOTION FOR AN AWARD OF
                                 ATTORNEYS’ FEES AND EXPENSES
